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United States District Court
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CENTRAL DISTRICT OF CALIFORNIA
In the Matter of the Seizure of
(Address or Brief description of property or premises to be seized) SEIZURE WARRANT
All funds on deposit in JP Morgan Chase checking '
account number 000000737092689 CASE NUMBER: 2118_mj_03132

and
Up to $201,665.82 on deposit in JP Morgan Chase
checking account number 000003890135227

TOZ Food and Drug Administration §“FDA”) and any Authorized Officer of the United States, Affidavit(s) having been made before
me by Special Agent Chad Medaris Who has reason to believe that in the Central District of California there is now certain property
Which is subject to forfeiture to the United States, namely (describe the property to be seized)

All funds on deposit in JP Morgan Chase checking account number 000000737092689 and
Up to $201,665.82 on deposit in JP Morgan Chase checking account number 000003890135227

Which iS (state one or more bases for seizure under United States Code)
subject to seizure and forfeiture under 18 U.S.C. §§ 981(a)(l)(A), (C), (b), 982(b) and 984; and 21 § 853(e) and (f)
concerning a violation of Titie_lS_ United States Code, Section(s) 371, 545 and 1956.

I am satisfied that the affidavit(s) and any recorded testimony establish probable cause to believe that the property so described is subject
to seizure and that grounds exist for the issuance of this seizure warrant

JP Morgan Chase is ordered to deliver said funds immediately and forthwith upon presentation of this warrant to the law enforcement
agent serving the warrant, in the form of a cashier’s check made payable to the United States Marshals Service.

YOU ARE HEREBY COMMANDED to seize within 14 days the property specified, serving this warrant and making the seizure in the
daytime - 6:00 A.M. to 10:00 P.M., leaving a copy of this warrant and receipt for the property seized, and prepare a written inventory
of the property seized and promptly return this warrant through a filing with the Clerk’s Oftice. The recipient of this Warrant is HEREBY
COMMANDED to comply with the duties and obligations set out above.

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l \ ('LY- \\ & " d ? m Los Angeles. California

Date and Time Issued City and State
Hon. Paul Abrams, U.S. Magistrate Judge
Name and Title of Judicial Ofiicer Signature of Judicial Ofticer

 

AUSA Jonathan Galatzan:aa

 

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CERTIFICATION

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I declare under penalty of perjury thatl am an ojj‘icer who executed this warrant and that this inventory is correct and will be
returned through a filing with the Clerk’s Ojj’l`ce.

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Date: ////35:// g __F©;:}:>:/

Executing Officer ’s Signature

 

 

 

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Prihted Name and Title

 

 

AUSA Jonathan Galatzan:aa

 

 

